Case 2:02-CV-02532-BBD-STA Document 53 Filed 05/25/05 Page 1 of 2 Page|D 58

 

IN THE UNITED STATES DISTRICT CoURT F“-ED LL£§/e.e.
FOR THE WESTERN DIsTRICT oF TENNESSEE
WESTERN DIVISION
MARY T. GoDWIN, )
)
P:aimifr, )
)
vs. ) No. 02-2532 D/An
)
CHARLES P. BAKER, )
d/b/a BAKER PROPERTIES, )
)
Defendant. )

 

ORDER RESETTING HEARING

 

Before the Court is Plaintifi’s Motion for Rule 37 Sanctions and/or An Order to Show
Cause filed on March 16, 2005. United States District Judge Bernice B. Donald referred this
matter to the Magistrate Judge for determination

A hearing on this Motion was set to be held on May 19, 2005 at 10:00 A.M.; however, it
is ORDEREI) that the hearing shall be rescheduled to occur before United States Magistrate
Judge S. Thomas Anderson on TUESDAY, JUNE 21, 2005 at ]0:00 A.M. in Courtroom M-3,
9th Floor, F ederal Building, Memphis, Termessee.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE .TUDGE

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P_ll.

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 53 in
case 2:02-CV-02532 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed

 

 

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Honorable Bernice Donald
US DISTRICT COURT

